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                      UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF TEXAS
                           AMARILLO DIVISION


STATE OF TEXAS, et al.,

               Plaintiffs,
                                       Case No. 2:24-CV-86-Z
         v.                            Judge Matthew J. Kacsmaryk


UNITED STATES DEPARTMENT OF
EDUCATION, et al.,

                Defendants.




  BRIEF OF AMICI CURIAE NEW JERSEY, CALIFORNIA, PENNSYLVANIA,
  COLORADO, DELAWARE, DISTRICT OF COLUMBIA, HAWAII, ILLINOIS,
   MASSACHUSETTS, MICHIGAN, MINNESOTA, NEW YORK, OREGON,
     RHODE ISLAND, VERMONT, AND WASHINGTON IN SUPPORT OF
   DEFENDANTS’ OPPOSITION TO PLAINTIFFS’ MOTION FOR STAY OF
          AGENCY ACTION AND PRELIMINARY INJUNCTION
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                                        INTRODUCTION

       In defining sex discrimination to include discrimination based on sexual orientation or

gender identity, the U.S. Department of Education’s (“ED”) new final rule, Nondiscrimination on

the Basis of Sex in Education Programs or Activities Receiving Federal Financial Assistance, 89

Fed. Reg. 33,474 (Apr. 29, 2024) [hereinafter Final Rule], is consistent with the plain text of

Title IX of the Education Amendments Act of 1972 (“Title IX”), 20 U.S.C. § 1681, Supreme Court

precedent, decisions in at least eight circuits, and congressional intent.

       Title IX broadly prohibits discrimination “on the basis of sex.” 20 U.S.C. § 1681(a);

Jackson v. Birmingham Bd. of Educ., 544 U.S. 167, 174-75 (2005) (emphasizing “repeated

holdings construing ‘discrimination’ under Title IX broadly”). The Supreme Court, and many

circuit courts, interpret Title IX in light of Title VII. E.g., Olmstead v. L.C. ex rel. Zimring, 527

U.S. 581, 616 n.1 (1999) (Thomas, J., dissenting) (citing Franklin v. Gwinnett Cnty. Pub. Schs.,

503 U.S. 60, 75 (1992)). Thus, given “the straightforward application of legal terms with plain and

settled meanings,” a prohibition on sex discrimination also covers discrimination based on being

lesbian, gay, bisexual, transgender, or queer (“LGBTQ”). Bostock v. Clayton County, 590 U.S.

644, 662 (2020).

       Because the Final Rule comports with Title IX and the U.S. Constitution, and better enables

states to advance their compelling interests in preventing harassment and discrimination and

protecting students from harm, Amici Curiae States (“Amici States”) submit this brief in support

of ED’s opposition to Plaintiffs’ motion for a preliminary injunction.

                               INTERESTS OF AMICI CURIAE

       Amici States have compelling governmental interests in the robust enforcement of Title IX

to ensure that our schools operate in a manner that is free from sex discrimination. As sovereign

jurisdictions charged with enforcing state antidiscrimination laws and shaping school policies that


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foster a safe and supportive environment for all students, Amici States take the implementation of

Title IX regulations seriously. Amici States, which all accept federal funding subject to Title IX,

are home to millions of students attending tens of thousands of public elementary, secondary, and

postsecondary schools. 1 Amici States also have numerous private and charter schools, vocational

and technical training programs, and private postsecondary institutions which may accept federal

educational funding.

       Sex discrimination and harassment based on sexual orientation or gender identity, and sex

stereotypes imposed on LGBTQ individuals, cause direct economic, physical, and emotional

harms to students. To prevent these tangible injuries, Amici States have adopted laws and policies

that combat sex discrimination against students on the basis that they appear, act, and identify as

a sex different from their sex assigned at birth, or that they are attracted to someone of the same

sex.

       As Amici States’ experience demonstrates, preventing sex-based discrimination, protecting

against sexual harassment, and ensuring equal access to educational opportunities for all students

confer wide societal benefits, without imposing substantial costs on schools or compromising

student privacy or safety. The same is true under the Final Rule, which includes explicit protections

for LGBTQ students and rectifies the harm caused to our schools and communities through ED’s

prior rule, Nondiscrimination on the Basis of Sex in Education Programs or Activities Receiving

Federal Financial Assistance, 85 Fed. Reg. 30,026 (May 19, 2020) [hereinafter 2020 Rule]. The

2020 Rule undermined Title IX’s nondiscrimination mandate by arbitrarily narrowing the scope

of Title IX’s sexual harassment protections.


        1
           See Nat’l Ctr. for Educ. Stat., Digest of Education Statistics, Table 235.20 (2023),
https://tinyurl.com/43aaxkz4; id., Table 203.40, https://tinyurl.com/2p95z9s9; id., Table 304.15,
https://tinyurl.com/48raka46.


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        Pursuant to the Court’s June 10, 2024 order, ECF No. 34 (granting leave to file amicus brief

without local counsel), Amici States submit this brief to demonstrate, in sovereign states’ unique

experience, how discrimination and exclusion on the basis of sex can cause direct economic,

physical, and emotional harms to our students, their communities, their states, and society as a

whole, and that the balance of equities and public interest cut against the extraordinary relief

Plaintiffs seek. Amici States encourage full implementation of the Final Rule nationwide.

                                           ARGUMENT

I.      AMICI STATES’ EXPERIENCE CONFIRMS THAT THE FINAL RULE WILL
        YIELD BROAD BENEFITS WITHOUT COMPROMISING STUDENT
        PRIVACY OR SAFETY, OR IMPOSING SIGNIFICANT COSTS.

        States’ responsibility to provide public education encompasses a concomitant duty to protect

students from harm. See Mahanoy Area Sch. Dist. v. B.L., 594 US. 180, 189, 192 (2021) (noting

states’ duty to protect students from harm); id. at 201 (Alito, J., concurring) (“[T]he school has a

duty to protect students while in school . . . .”). The Final Rule will promote states’ efforts to

protect students from harms of all kinds—in part by clarifying that Title IX protections against sex

discrimination include protections for LGBTQ students—and will provide broad, significant

benefits to LGBTQ students nationwide, without compromising student privacy or safety, and

without imposing substantial costs on our schools.

        A.    The Final Rule’s Benefits Will Not Compromise Student Privacy or Safety.

        Amici States’ experience demonstrates that policies allowing transgender students to use

bathrooms and locker rooms consistent with their gender identity significantly benefit those

students without risking student privacy or safety. For example, allowing students to use

bathrooms consistent with their gender identity helps safeguard against harms common to




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transgender students, such as forgoing drinking or eating during the school day to avoid using the

restroom for fear of exclusion, reprimand, or bullying. 2

      By contrast, subjecting LGBTQ students to such discrimination and harassment, including

by barring transgender students from facilities consistent with their gender identity, results in those

students feeling less connected to their schools and fellow students, and exacerbates harms to their

education. 3 For example, one 2021 survey showed that LGBTQ students who experienced

discrimination in their schools were almost three times as likely (43.3% versus 16.4%) to have

missed school because they felt unsafe or uncomfortable. 4 LGBTQ students who experienced

discriminatory policies and practices also had lower grade point averages and educational

achievement, lower levels of educational aspiration, lower self-esteem, and higher levels of

depression than other students who had not encountered such discrimination. 5

      While discriminatory environments that cause fear and anxiety weaken a child’s cognitive

capacity and disrupt effective learning, safe and supportive school environments allow students to

develop positive relationships, regulate their emotions and behavior, and maintain their physical,



       2
         See Assemb. B. 1266, 2013-2014 Sess. (Cal. 2013); Alexa Ura, For Transgender Boy,
Bathroom Fight Just Silly, Tex. Trib. (June 14, 2016), https://tinyurl.com/mtpescst. See also The
Trevor Project, 2023 U.S. National Survey on the Mental Health of LGBTQ Young People 5
(2023), https://tinyurl.com/mvbmabrw [hereinafter Trevor Project 2023 National Survey] (noting
that approximately half of transgender and nonbinary youth reported in 2023 having seriously
considered suicide in the past twelve months).
       3
           Joseph G. Kosciw et al., GLSEN, The 2021 National School Climate Survey: The Experi-
ences of LGBTQ+ Youth in Our Nation’s Schools xviii-xix, 36 (2022),
https://tinyurl.com/2aabcfe4 [hereinafter Kosciw 2021].
       4
           Id. at 36.
       5
         Id. at 35-36, 41-45; Joseph G. Kosciw et al., GLSEN, The 2015 National School Climate
Survey: The Experiences of Lesbian, Gay, Bisexual, Transgender, and Queer Youth in Our
Nation’s Schools xviii-xix, 41-45, 48-49 (2016), https://tinyurl.com/5av274d3 [hereinafter Kosciw
2015].



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psychological, and academic well-being. 6 Accordingly, transgender students, when allowed to use

school bathroom and locker room facilities consistent with their gender identity, experience better

mental health outcomes that are more comparable to their cisgender peers. 7 Providing equal access

to facilities that align with one’s gender identity—in accordance with the Final Rule—promotes

these positive outcomes and helps reduce the harms that LGBTQ students face. This, in turn,

benefits society as a whole, since equal education better prepares students to contribute to society,

both culturally and economically. Cf. Brown v. Bd. of Educ., 347 U.S. 483, 493 (1954).

      Amici States’ experience also demonstrates that allowing transgender students access to

facilities that correspond with their gender identity does not result in increased privacy or safety

concerns in public schools, or specific instances of transgender students harassing cisgender

students when using restrooms or locker rooms consistent with their gender identity. 8 The

documented experience of school administrators in thirty-one states and the District of Columbia

demonstrates that sex-based protections for gender identity in bathroom- and locker room-use




       6
         See Linda Darling-Hammond et al., Implications for Educational Practice of the Science
of Learning and Development, 24 Applied Dev. Sci. 97, 97-98, 102 (Feb. 17, 2019) [hereinafter
Darling-Hammond], https://tinyurl.com/5f97nkbx.
       7
         See Kristina R. Olson et al., Mental Health of Transgender Children Who Are Supported
in Their Identities, 137 Pediatrics e20153223, at 5-7 (Mar. 2016), https://tinyurl.com/47fuas7h;
Br. of Amici Curiae Sch. Adm’rs from Thirty-One States & D.C. in Supp. of Resp’t [hereinafter
Br. of Amici Curiae Sch. Adm’rs] at 4, Gloucester Cnty. Sch. Bd. v. G.G. ex rel. Grimm, 137 S.
Ct. 1239 (2017) (No. 16-273), 2017 WL 930055.
       8
         See Alberto Arenas et al., 7 Reasons for Accommodating Transgender Students at School,
Phi Delta Kappa (Sept. 1, 2016), https://tinyurl.com/224mzep4; Beatriz Pagliarini Bagagli et al.,
Trans Women and Public Restrooms: The Legal Discourse and Its Violence, 6 Frontiers Socio. 1,
8 (Mar. 31, 2021), https://tinyurl.com/2s2ucz9t.



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policies result in no safety or privacy risks, nor is there evidence that cisgender students pose as

transgender to gain improper restroom access. 9

      The Final Rule affords ample flexibility for our schools to implement policies to address

privacy concerns, and Amici States have already increased privacy options for all students in a

cost-effective manner without singling out any one student. For example, in Washington, where

districts must allow students to use the restroom or locker room consistent with their gender

identity, schools must provide any student “who has a need or desire for increased privacy,

regardless of the underlying reason,” with “access to an alternative restroom (e.g., staff restroom,

health office restroom),” “a reasonable alternative changing area, such as the use of a private area

(e.g., a nearby restroom stall with a door), or a separate changing schedule.” 10 At least twelve other

states and the District of Columbia offer comparable guidance to ensure that school districts can

comply with nondiscrimination policies and privacy concerns. 11 Solutions range from offering



       9
        See Br. of Amici Curiae Sch. Adm’rs at 14-16; Off. of Elementary & Secondary Educ.,
U.S. Dep’t of Educ., Safe & Supportive Schools (May 30, 2023), https://tinyurl.com/yv397h94.
       10
            See Susanne Beauchaine et al., Prohibiting Discrimination in Washington Public
Schools 30-31 (Wash. Off. of Superintendent of Pub. Instruction 2012),
https://tinyurl.com/yk26eb96.
       11
          California: Cal. Sch. Bds. Ass’n, Final Guidance: AB 1266, Transgender and Gender
Nonconforming Students, Privacy, Programs, Activities & Facilities 2 (2014). Colorado: Colo.
Ass’n of Sch. Bds. et al., Guidance for Educators Working with Transgender and Gender
Nonconforming Students 4-5 (n.d.). Connecticut: Conn. Safe Sch. Coal., Guidelines for
Connecticut Schools to Comply with Gender Identity and Expression Non-Discrimination Laws
9-10 (2012). Illinois: Ill. Dep’t of Hum. Rts., Non-Regulatory Guidance: Relating to Protection of
Transgender, Nonbinary, and Gender Nonconforming Students Under the Illinois Human Rights
Act 6-7 (2021); Ill. State Bd. of Educ., Non-Regulatory Guidance: Supporting Transgender,
Nonbinary and Gender Nonconforming Students 10-11 (2020); Affirming & Inclusive Schs. Task
Force, Strengthening Inclusion in Illinois Schools 19-21 (2020). Maryland: Md. State Dep’t of
Educ., Providing Safe Spaces for Transgender and Gender Non-Conforming Youth: Guidelines
for Gender Identity Non-Discrimination 13-14 (2015). Massachusetts: Mass. Dep’t of Elementary
& Secondary Educ., Guidance for Massachusetts Public Schools: Creating a Safe and Supportive
School Environment (Oct. 28, 2021). Michigan: Mich. Dep’t of Educ., State Board of Education



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privacy curtains to separate restroom and changing rooms to all who desire them, none of which

require costly construction or remodeling.

      Maintaining sex-separated spaces while allowing transgender students to use facilities that

align with their gender identity results in positive educational and health outcomes for students,

and promotes Amici States’ compelling interest in “removing the barriers to economic

advancement and political and social integration that have historically plagued certain

disadvantaged groups.” Roberts v. U.S. Jaycees, 468 U.S. 609, 626 (1984). Ensuring equal access

to facilities that align with gender identity is therefore not only consistent with Title IX’s provision

for sex-separated facilities, 20 U.S.C. § 1686, but also with the constitutional guarantee that

education be “made available to all on equal terms,” Brown, 347 U.S. at 493 (emphasis added).

      B.    The Final Rule Will Not Impose Significant Compliance Costs.

      Plaintiffs grossly overstate the expense of updating policies and procedures, training, and

construction, arguing that compliance with the Final Rule will inflict irreparable harm on the

states and their school systems. Pls.’ Mot. Stay & Prelim. Inj. 27, 39-44, ECF No. 16 [hereinafter

Br.]. Amici States’ experience confirms that these concerns are unfounded. Plaintiffs fail to note

that every state in the Union is already required to prohibit discrimination based on LGBTQ



Statement and Guidance on Safe and Supportive Learning Environments for Lesbian, Gay,
Bisexual, Transgender, and Questioning (LGBTQ) Students 5-6 (2016). Minnesota: Minn. Dep’t
of Educ., A Toolkit for Ensuring Safe and Supportive Schools for Transgender and Gender
Nonconforming Students 10 (2017). New Jersey: N.J. State Dep’t of Educ., Transgender Student
Guidance for School Districts 7 (2018). New York: N.Y. State Educ. Dep’t, Creating a Safe,
Supportive, and Affirming School Environment for Transgender and Gender Expansive Students:
2023 Legal Update and Best Practices 22-24 (June 2023). Oregon: Or. Dep’t of Educ., Supporting
Gender Expansive Students: Guidance for Schools 24-26 (2023). Rhode Island: R.I. Dep’t of
Educ., Guidance for Rhode Island Schools on Transgender and Gender Nonconforming Students
8-9 (2016). Vermont: Vt. Agency of Educ., Continuing Best Practices for Schools Regarding
Transgender and Gender Nonconforming Students 6, 8 (2017). District of Columbia: D.C. Pub.
Schs., Transgender and Gender-Nonconforming Policy Guidance 9 (2015).



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identity for all employees in its school districts under Title VII. See Bostock, 590 U.S. at 659-62.

Training staff members and implementing policies, so that the same protections extend to all

students at risk of discrimination or harassment on the basis of sex under Title IX, is not a

“significant expenditure[],” and would require neither “construction of new facilities [n]or

creation of new programs.” 89 Fed. Reg. at 33,876; see also id. at 33,862-77 (noting benefits “far

outweigh” costs). Further, at least twenty-three states and the District of Columbia, 12 and at least


       12
           California: Cal. Civ. Code § 51(b), (e)(5) (public accommodations); Cal. Educ. Code
§§ 220 (education), 221.5(f) (education and school athletic participation); Cal. Gov’t Code
§§ 12926(o), (r)(2), 12940(a), 12949 (employment); id. § 12955 (housing); Cal. Penal Code
§§ 422.55, 422.56(c) (hate crimes). Colorado: Colo. Rev. Stat. § 24-34-301(7) (definition); id.
§ 24-34-402 (employment); id. § 24-34-502 (housing); id. § 24-34-601 (public accommodations).
Connecticut: Conn. Gen. Stat. § 10-15c (schools); id. § 46a-51(21) (definition); id. § 46a-60
(employment); id. § 46a-64 (public accommodations); id. § 46a-64c (housing). Delaware: Del.
Code Ann. tit. 6, § 4501 (public accommodations); id. tit. 6, § 4603(b) (housing); id. tit. 19, § 711
(employment). Hawai‘i: Haw. Rev. Stat. § 368D-1 (education); id. § 302A-461 (school athletics);
id. § 489-2 (definition); id. § 489-3 (public accommodations); id. § 515-2 (definition); id. § 515-3
(housing). Illinois: 775 Ill. Comp. Stat. 5/1-102(A) (housing, employment, access to financial
credit, public accommodations); id. 5/1-103(O-1) (definition). Iowa: Iowa Code § 216.2(10)
(definition); id. § 216.6 (employment); id. § 216.7 (public accommodations); id. § 216.8 (housing);
id. § 216.9 (education). Kansas: Kan. Hum. Rts. Comm’n, Kansas Human Rights Commission
Concurs with the U.S. Supreme Court’s Bostock Decision (Aug. 21, 2020) (advising that Kansas
laws prohibiting discrimination based on “sex” in “employment, housing, and public
accommodation” contexts “are inclusive of LGBTQ and all derivates of ‘sex’”). Maine: Me. Rev.
Stat. Ann. tit. 5, § 4553(9-C) (definition); id. § 4571 (employment); id. § 4581 (housing); id.
§ 4591 (public accommodations); id. § 4601 (education). Maryland: Md. Code Ann., State Gov’t
§ 20-304 (public accommodations); id. § 20-606 (employment); id. § 20-705 (housing); Md. Code
Ann., Educ. § 26-704 (schools). Massachusetts: Mass. Gen. Laws ch. 4, § 7, fifty-ninth
(definition); id. ch. 76, § 5 (education); id. ch. 151B, § 4 (employment, housing, credit); id. ch.
272, §§ 92A, 98 (public accommodations) (as amended by Ch. 134, 2016 Mass. Acts). Minnesota:
Minn. Stat. § 363A.03(44) (definition); id. § 363A.08 (employment); id. § 363A.09 (housing); id.
§ 363A.11 (public accommodations); id. § 363A.13 (education). Nevada: Nev. Rev. Stat.
§§ 118.075, 118.100 (housing); id. §§ 613.310(4), 613.330 (employment); id. §§ 651.050(2),
651.070 (public accommodations). New Hampshire: N.H. Rev. Stat. Ann. § 354-A:2(XIV-e)
(definition); id. § 354-A:6 (employment); id. § 354-A:8 (housing); id. § 354-A:16 (public
accommodations); id. § 354-A:27 (education). New Jersey: N.J. Stat. Ann. § 10:5-5(rr)
(definition); id. § 10:5-12 (public accommodations, housing, employment); id. § 18A:36-41
(directing issuance of guidance to school districts permitting transgender students “to participate in
gender-segregated school activities in accordance with the student’s gender identity”). New Mexico:



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374 municipalities, 13 already offer express protections against discrimination based on LGBTQ

identity in areas such as education, housing, public accommodations, and employment—all

demonstrating that the Final Rule’s protections are entirely feasible. A return to the 2020 Rule’s

regulatory scheme would result in weighty costs to the students who are denied protections under

Title IX, including increased costs from absenteeism and student dropouts, as well as

unemployment and health service costs that redound to states when students experience

unremediated incidents of discrimination and harassment. 14 See 2020 Rule, 85 Fed. Reg. at

30,538-48 (acknowledging harms and declining to include them in regulatory impact analyses).




N.M. Stat. Ann. § 28-1-2(Q) (definition); id. § 28-1-7(A) (employment); id. § 28-1-7(F) (public
accommodations); id. § 28-1-7(G) (housing). New York: N.Y. Exec. Law §§ 291, 296 (education,
employment, public accommodations, housing). Oregon: Or. Rev. Stat. § 174.100(4) (definition);
id. § 659.850 (education); id. § 659A.006 (employment, housing, public accommodations).
Pennsylvania: 43 P.S. § 953; 16 Pa. Code § 41.206 (defining sex to include gender identity). Rhode
Island: 11 R.I. Gen. Laws § 11-24-2 (public accommodations); 28 R.I. Gen. Laws §§ 28-5-6(11),
28-5-7 (employment); 34 R.I. Gen. Laws §§ 34-37-3(9), 34-37-4 (housing). Utah: Utah Code Ann.
§ 34A-5-106 (employment); id. § 57-21-5 (housing). Vermont: Vt. Stat. Ann. tit. 1, § 144
(definition); id. tit. 9, § 4502 (public accommodations); id. tit. 9, § 4503 (housing); id. tit. 21, § 495
(employment). Washington: Wash. Rev. Code Ann. § 28A.642.010 (education); id.
§ 49.60.030(1)(a)-(e) (employment, public accommodations, real estate transactions, credit transactions,
and insurance transactions); id. § 49.60.040(27) (definition); id. § 49.60.180 (employment); id.
§ 49.60.215 (public accommodations); id. § 49.60.222 (housing). District of Columbia: D.C. Code
§ 2-1401.02(12A-i) (definition); id. § 2-1402.11 (employment); id. § 2-1402.21 (housing); id. § 2-
1402.31 (public accommodations); id. § 2-1402.41 (education).
        13
             Movement Advancement Project, Local                    Nondiscrimination       Ordinances,
https://tinyurl.com/59p55bap (current as of Jan. 1, 2023).
        14
          Discrimination against LGBT individuals directly threatens the interests of States. See,
e.g., Christy Mallory et al., Williams Inst., Impact of Stigma and Discrimination (Michigan) 56
(2019), https://tinyurl.com/4jut8zr8; Crosby Burns et al., Ctr. for Am. Progress & AFSCME, Gay
and Transgender Discrimination in the Public Sector: Why It’s a Problem for State and Local
Governments, Employees, and Taxpayers 18 (2012), https://tinyurl.com/22knbxuh.



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      C.      The Final Rule Will Foster Positive Health Outcomes for LGBTQ Students.

      Amici States’ experience counsels that LGBTQ students suffer concrete harms when they

are denied Title IX’s protection against discrimination and severe or pervasive harassment in

schools—including a greater risk of mental health issues and worse educational outcomes. Indeed,

neuroscience research and developmental studies indicate that a child’s social, emotional, and

academic development is closely related to their educational environment, 15 and negative effects

of discrimination and harassment can impede a child’s cognitive development, disrupt the learning

process, and endanger psychological well-being.

      In a recent study, almost 90% of LGBTQ students reported hearing homophobic slurs from

their peers, while more than 68% reported feeling unsafe in schools due to their gender identity,

gender expression, or sexual orientation. 16 In a 2022 survey of LGBTQ teenagers, 56.9% of

LGBTQ youth reported being verbally or physically harassed at least once in the past thirty days. 17

Of students known or perceived to be transgender, 77% reported negative experiences at school,

including harassment and physical assault. 18 And as many as 75% of transgender students

surveyed in 2017 felt unsafe at school as a result of their gender identity or gender expression. 19

As a group, transgender students are up to five times more likely than cisgender students to report

being bullied at school, threatened or injured with a weapon at school, and being sexually


       15
            Darling-Hammond, supra note 6, at 97-98.
       16
            Kosciw 2021, supra note 3, at xv-xvi, 83, 93.
       17
             Human Rts. Campaign           Found.,    2023   LGBTQ+      Youth    Report    (2023),
https://tinyurl.com/2zrnav26.
       18
        Sandy E. James et al., Nat’l Ctr. for Transgender Equal., The Report of the 2015 U.S.
Transgender Survey 132-34 (Dec. 2016).
       19
        Separation and Stigma: Transgender Youth and School Facilities, Movement
Advancement Project & GLSEN 3-4 (2017), https://tinyurl.com/ukvkv8tf.



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assaulted. 20 Another 2022 survey found that 64% of transgender and nonbinary youth reported

being discriminated against because of their gender identity. 21 In the largest survey of transgender

people to date, 17% of respondents reported that they left K-12 school because of the mistreatment

they suffered as a result of their gender expression. 22 And a 2009 study found that 40% of students

who experienced frequent verbal harassment because of their gender expression did not plan to

continue on to college. 23

      By contrast, LGBTQ students who are supported by school staff are less likely to feel unsafe,

miss school, or say that they may not graduate high school because of their sexual orientation or

gender expression, and they are more likely to have higher GPAs and feel a greater sense of

belonging to their school community. 24 When transgender youth do not suffer discrimination and

have their gender identity affirmed, their mental health outcomes mirror those of their cisgender

peers: they experience reduced suicidal ideation, fewer suicide attempts, and enhanced well-being

and functioning. 25


       20
           Michelle M. Johns et al., Transgender Identity and Experiences of Violence
Victimization, Substance Use, Suicide Risk, and Sexual Risk Behaviors Among High School
Students—19 States and Large Urban School Districts, 2017, 68 Morbidity & Mortality Wkly.
Rep. 67, 69 (2019), https://tinyurl.com/5bpxzvfy.
       21
            Trevor Project 2023 National Survey, supra note 2, at 16.
       22
            James et al., supra note 18, at 135.
       23
         Emily A. Greytak et al., GLSEN, Harsh Realities: The Experiences of Transgender
Youth in Our Nation’s Schools 25-27 (2009), https://tinyurl.com/3bpt9py5.
       24
            Kosciw 2015, supra note 5, at xx-xxi.
       25
           Kristina R. Olson et al., Mental Health of Transgender Children Who Are Supported in
Their Identities, Pediatrics 5-7, (Mar. 2016), https://tinyurl.com/4mfe4jht; see also World
Professional Association for Transgender Health, Standards of Care for the Health of Transgender
and Gender Diverse People, Version 8, Int’l J. of Transgender Health S107 (Sept. 2022),
https://tinyurl.com/y86j5jnp; Stephen Russell et al., Chosen Name Use Is Linked to Reduced
Depressive Symptoms, Suicidal Ideation, and Suicidal Behavior Among Transgender Youth, J. of
Adolescent Health 503 (2018), https://tinyurl.com/465z8reh; The Trevor Project Research Brief:



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II.   THE FINAL RULE DEFINES “SEX-BASED HARASSMENT” IN A WAY
      THAT EFFECTUATES TITLE IX WITHOUT BURDENING OR SURPRISING
      THE STATES.

      The Final Rule’s definition of sex-based harassment as conduct that “is so severe or

pervasive that it limits or denies a person’s ability to participate in or benefit from the recipient’s

education program or activity,” 89 Fed. Reg. at 33,884, comports with the text and intent of

Title IX and better enables stakeholders to prohibit harassment and redress hostile environments.

In Amici States’ experience, sex-based harassment need not be severe and pervasive to create

tangible injury to a student’s education. For example, a teacher’s repeated inappropriate sexual

comments and intrusions of personal space may not be “severe,” but could be so pervasive that a

student feels unsafe and avoids classes, and is effectively excluded from education. See, e.g.,

Fennell v. Marion Indep. Sch. Dist., 804 F.3d 398, 409 (5th Cir. 2015) (noting that “offensive

remarks made every few months over three years” raised genuine dispute regarding Title VII

hostile environment); Feminist Majority Found. v. Hurley, 911 F.3d 674, 680-82, 687-89, 693 (4th

Cir. 2018) (finding a series of harassing social media posts sent over campus wireless network

could support Title IX harassment claim).

      By covering severe or pervasive forms of harassment, the Final Rule also effectuates the

breadth of 20 U.S.C. § 1681(a), and advances Congress’ objectives, because “the scope of the

behavior that Title IX proscribes” is not limited to “severe, pervasive, and objectively offensive”

conduct. See Davis v. Monroe Cnty. Bd. of Educ., 526 U.S. 629, 639, 652 (1999). Congress

established an administrative scheme authorizing ED “to give effect to” the goals of Title IX.

Davis, 526 U.S. at 638-39; Gebser v. Lago Vista Indep. Sch. Dist., 524 U.S. 274, 280-81 (1998);



LGBTQ        &     Gender-Affirming       Spaces,      The    Trevor      Project     (Dec.     2020),
https://tinyurl.com/2c2p7zkf.



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20 U.S.C. § 1682. 26 The Final Rule protects students from both severe incidents of harassment, as

well as a series of lesser, unwelcome incidents that become pervasive.

      Amici States’ experience also teaches that no sovereign jurisdiction should be burdened or

surprised by the Final Rule’s return to the “severe or pervasive” standard. For more than thirty

years, ED defined harassment as conduct that was “sufficiently severe, pervasive or persistent” to

interfere with, limit, or adversely affect, rather than deny, a student’s ability to participate in or

benefit from an education program or activity, and consistently applied this definition to address

harassment under Title IX and Title VI. 27 Amici States have long understood that this definition

applies to their schools, and the Final Rule correctly returns to ED’s longstanding definition and

provides appropriate baseline protections against sexual harassment in our schools. See, e.g.,

Meritor Sav. Bank, FSB v. Vinson, 477 U.S. 57, 67 (1986) (protecting employees, including student

employees, from sexual harassment that is “sufficiently severe or pervasive to alter the conditions




       26
          Plaintiffs mistakenly rely on Davis to argue that harassment must be “severe and
pervasive.” Br. at 30. But Davis makes clear that its rule applies only to private damages claims,
526 U.S. at 652; see also Gebser, 524 U.S. at 283-84, 287, and does not otherwise limit ED’s
regulatory authority, see Gebser, 524 U.S. at 292.
       27
           See, e.g., Racial Incidents and Harassment Against Students at Educational Institutions;
Investigative Guidance, 59 Fed. Reg. 11,448, 11,449 (Mar. 10, 1994); Sexual Harassment
Guidance: Harassment of Students by Sch. Emps., Other Students, or Third Parties, 62 Fed. Reg.
12,034, 12,038 (Mar. 13, 1997) (“[S]exual harassment must be sufficiently severe, persistent, or
pervasive that it adversely affects a student’s education . . . .”); U.S. Dep’t of Educ., Revised Sexual
Harassment Guidance: Harassment of Students by School Employees, Other Students, or Third
Parties (Jan. 2001), at v, 6 (noting that harassment must “deny or limit” student’s education, and
single “sufficiently severe” incident of sexual harassment can create hostile environment); Russlyn
Ali, Assistant Sec’y for Civ. Rts., Off. for Civ. Rts., Dear Colleague Letter (Apr. 4, 2011,
withdrawn Sept. 22, 2017) (“The more severe the conduct, the less need there is to show a
repetitive series of incidents to prove a hostile environment . . . .”); U.S. Dep’t of Educ., Q&A on
Title IX and Sexual Violence (Apr. 24, 2014, withdrawn Sept. 22, 2017) (same); U.S. Dep’t of
Educ., Q&A on Campus Sexual Misconduct (Sept. 2017, rescinded Aug. 2020) (applying “severe,
persistent, or pervasive” and “deny or limit” standards).



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of the victim’s employment”); Franklin, 503 U.S. at 75 (concluding that sexual harassment

constitutes discrimination under Title IX); Doe v. Miami Univ., 882 F.3d 579, 590 (6th Cir. 2018)

(applying “severe or pervasive” standard to Title IX harassment).

      Finally, in Amici States’ experience, a definition of sexual harassment that encompasses

both severe and pervasive forms of harassment is essential to ensure the safety and sense of

belonging that students need in order to learn and thrive. Students who experience safe and

supportive school climates see improvements in academic achievement and healthy development,

and such schools are more effective at preventing violence and retaining teachers. 28 (See also

supra pp. 3-5, 9-11.) On the other hand, ED itself estimated that the 2020 Rule’s narrow

interpretation of Title IX’s protections would reduce investigations of sexual harassment by 50%

in K-12 schools, 29 even though research shows that sexual harassment and assault occur at

alarming rates, and are severely underreported. For example, more than 20% of girls between the

ages of fourteen and eighteen have been kissed or touched without their consent, but no more than

3% reported the incidents to police or school administrators. 30 The Final Rule’s definition of

sexual harassment reasonably provides our students with protection from severe or pervasive

sexual harassment and its devastating impacts on academic performance, and emotional and

physical well-being. 31


       28
          See, e.g., Jenna Howard Terrell et al., Conceptualizing and Measuring Safe and
Supportive Schools, 24 Contemp. Sch. Psych. 3 (Aug. 2020); Darling-Hammond, supra note 6, at
97-98; see also Ctrs. For Disease Control, Youth Risk Behavior Survey: Data Summary & Trends
Report 2011-2021 72 (2023), https://tinyurl.com/2p6w6yrv.
       29
            85 Fed. Reg. at 30,551-52, 30,565-68.
       30
         Nat’l Women’s Law Ctr., Let Her Learn: Stopping School Pushout for Girls Who Have
Suffered Harassment and Sexual Violence 1-2 (Apr. 2017), https://tinyurl.com/u53eawk2.
       31
         62 Fed. Reg. at 12034 (“[S]exual harassment can interfere with a student’s academic
performance and emotional and physical well-being, and . . . preventing and remedying sexual



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III.   THE FINAL RULE DOES NOT VIOLATE THE SPENDING CLAUSE OR
       OTHER CONSTITUTIONAL PROVISIONS.

       Plaintiffs also allege that the Final Rule violates the Spending Clause’s clear-statement rule.

Br. 21-23. 32 This argument runs contrary to Amici States’ actual experience.

       The Final Rule does not require any state to establish any new programs; it just clarifies that

established programs must protect LGBTQ students from discrimination on the basis of sex, using

the Title IX framework that funding recipients already have in place. Many Amici States have

already implemented these protections, and have incurred de minimis costs in doing so, while

conferring significant benefits to students.33 Moreover, most courts have held that discrimination

based on LGBTQ identity is sufficiently ascertainable from Title IX’s prohibition against sex

discrimination, such that the clear-statement rule is satisfied. See, e.g., Grimm v. Gloucester Cnty.

Sch. Bd., 972 F.3d 586, 619 n.18 (4th Cir. 2020); J.A.W. v. Evansville Vanderburgh Sch. Corp.,

396 F. Supp. 3d 833, 842 (S.D. Ind. 2019) (finding adequate notice to support suit for damages

under Title IX). 34




harassment in schools is essential to ensure nondiscriminatory, safe environments in which
students can learn.”).
        32
          The Final Rule is consistent with the U.S. Constitution. Supreme Court precedent also
forecloses Plaintiffs’ First Amendment argument. See, e.g., Oncale v. Sundowner Offshore Servs.,
523 U.S. 75, 82 (1998) (Title VII can prohibit verbal harassment); Masterpiece Cakeshop, Ltd. v.
Colo. Civ. Rts. Comm’n, 584 U.S. 617, 631 (2018) (Free Exercise Clause does not allow
discrimination in violation of “neutral and generally applicable . . . law”).
        33
          School-based gender-affirming policies are linked to dramatic decreases in depression,
anxiety, and suicidal ideation among transgender and nonbinary students. See Toomey et al.,
Gender-Affirming Policies Support Transgender and Gender Diverse Youth’s Health, Soc’y for
Rsch. in Child Dev. (Jan. 27, 2022), https://tinyurl.com/ms6eubb7.
        34
         See also Tennessee v. U.S. Dep’t of Agric., 665 F. Supp. 3d 880, 916 (E.D. Tenn. 2023)
(concluding statute prohibiting sex discrimination for SNAP and SNAP-Ed funding recipients
“unambiguous[ly]” prohibited gender identity discrimination, “and always has”).


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      The Final Rule does not transgress the constitutional limitations on conditions imposed on

federal spending. It requires funding recipients to do only what it has always required: to refrain

from discriminating against students on the basis of sex, and to remedy any discrimination that

arises. No state should be surprised at the need to perform this longstanding duty.

IV.   THE FINAL RULE’S GRIEVANCE PROCEDURE SECTIONS DO NOT
      VIOLATE THE ADMINISTRATIVE PROCEDURE ACT.

      Plaintiffs protest that the Final Rule runs afoul of the Administrative Procedure Act in

modifying the highly inflexible, quasi-judicial grievance procedures of the 2020 Rule. Br. 33-39.

But Amici States’ experience shows that ED has met its burden to “display awareness that it is

changing position” and to “provide a reasoned explanation” for reintroducing flexibility and

context-sensitivity into the regulations governing schools’ grievance processes. Encino Motorcars,

LLC v. Navarro, 579 U.S. 211, 221-22 (2016) (quoting FCC v. Fox Television Stations, Inc., 556

U.S. 502, 515 (2009)). Indeed, the Final Rule reflects thoughtful consideration of comments—

including those submitted by Amici States—urging ED to curtail the 2020 Rule’s inflexible

mandates for schools.

      For example, by restoring postsecondary institutions’ discretion to hold live hearings with

adversarial cross-examination, the Final Rule properly accounts for significant burdens on smaller

postsecondary institutions with limited resources, 35 while ensuring due process through cross-

examination by a decisionmaker in all cases. See 89 Fed. Reg. at 33,746-47. The Final Rule also

addresses the inequity and harm caused by the 2020 Rule’s requirement that an “advisor of

choice”—e.g., an untrained parent, an attorney, or even a college friend—conduct cross-


       35
          These smaller institutions may spend anywhere between $10,000 and $16,000 per
hearing on hearing officers alone. See Comment on Proposed Rule Regarding Nondiscrimination
on the Basis of Sex in Education Programs or Activities Receiving Federal Financial Assistance
19 (2022), https://tinyurl.com/y95bxrr2.


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examination. As Amici States highlighted during the rulemaking process, see id. at 33,732, 33,746,

this requirement has created a chilling effect on reporting and participation in the grievance system

because both complainants and respondents are fearful of an unequal and harmful process where,

for example, only one side is represented by counsel, and either side may be subjected to

unprofessional and abusive questioning from an untrained (or even angry) advisor. In this regard,

the Commission on Independent Colleges and Universities in New York told ED that the 2020

Rule’s requirement for cross-examination by an advisor of choice “has proven to be adversarial

and harmful to students participating in good faith in the process.” 36 The Final Rule corrects this

chilling effect, which is irreconcilable with Title IX’s reliance on individual reporting as the key

enforcement mechanism. See Jackson, 544 U.S. at 181.

      Plaintiffs’ arguments concerning the Final Rule’s allowance of the single-investigator model

are likewise unavailing. Here, too, the Final Rule sensibly restores much-needed flexibility to

schools struggling to comply with the 2020 Rule’s rigid dictates concerning the number of distinct

staff members—up to four—who must be involved in the investigation process. The 2020 Rule’s

prohibition of the single-investigator model has forced Amici States’ smaller schools to either

reassign administrative staff to participate in grievance processes or spend scarce resources

recruiting, hiring, and training non-employees—thereby compromising schools’ ability to resolve

complaints in a “reasonably prompt” fashion, as the 2020 Rule also required. See 85 Fed. Reg. at

30,575. For example, Amici States’ Comment on the Proposed Final Rule highlighted that a New

Jersey school, which has long held Title IX hearings, roughly estimated that before the 2020 Rule

it took an average of 152 days to resolve one Title IX matter, but after the 2020 Rule, it took 287



       36
            Id. at 19.



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days, an 89 percent increase. 37 Thus, the Final Rule reasonably restores to schools the discretion

to tailor their grievance procedures with procedural safeguards to guarantee integrity and fairness

in the grievance process, while also meeting specific needs, including budgetary and staffing

realities, all of which Amici States’ experience shows is much needed. See, e.g., 89 Fed. Reg. at

33,662-63.

                                        CONCLUSION

      This Court should deny Plaintiffs’ motion for emergency and preliminary relief.




       37
            Id. at 18-19.


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Date: June 14, 2024                                Respectfully submitted,

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                                    CERTIFICATE OF SERVICE
       I certify that this document was filed through the Court’s CM/ECF system, which served it upon all

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